Case o-41-/Uszo-reg VOoC¢l Filed Vo/Osiel Entered Qo/Os/21l 12:01:50

mt ony
He AIL ODT in?
Us. PANARUPTCY Cours
EASTERN DISTRICT GF

Fill in this information to identify your case:

    

 

 

 

 

Debtor 1 STERLING ERIC CHARLES SR ws a yaa
First Name Middle Name Last Name yew we

Debtor 2 ong .

(Spouse, if filing) First Name Middle Name Last Name 7071 APR 3 Q = ?: 2 t ,

United States Bankruptcy Court for the: Eastern District of New York R Ee c E | 4 D / D m

Case number 21-70323-reg Check if this is an
{if known) amended filing

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

 

Be as.complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your assets
‘Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule A/Buu...cceeccssescsseceneecesnenetreeestsereneeeeusenesesasesseeenseaesceussansaesenisenaniecseeanees $ ___ 99,866.00

1b. Copy line 62, Total personal property, from Schedule A/B........ccccssccieusseessesessensseenavsacsaeenrsssesuaseassesacenseeseeseveanesesasenens $ 4,975.65

 

1c. Copy line 63, Total of all property on Schedule A/B u....icecsescessscsessesseesceesscessecsaneseesnunpesasensnceucsneasesseneseeansestansensesnenenenen $ 104,841.65

Summarize Your Liabilities

 

 

 

 

Your liabilities °
Amount you-owe _.
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $ ___ 148,509.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 0.00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F...........cecccececseseererereeeeneeneees oo

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/P ......c.cecccecssssnnseeseneeeesens + 5 45,330.72

 

 

 

 

 

Your total liabilities $ 193,839.72
Summarize Your Income and Expenses
4. Schedule I: Your Income (Official Form 1061) 4.125.00
Copy your combined monthly income from line 12 Of SCHECUIC |... eeecccseenseneesteessssensessnnseeseseenenseeccreeetseassnnerentaseeenenaans $e
5. Schedule J: Your Expenses (Official Form 106J)
$ 1,102.00

Copy your monthly expenses from line 22c Of SCHECUIE J oo... eicescscecsseeeecesseesessensnseceeenensecosenueaseaseacausnscausesseassaeeasaaseaeenenaaregs

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
 

Usizt--Entereag Vo/Vsret L2i0 150

pebtor? STERLING ERIC CHARLES SR Case number yriawn 21-70323-reg

 

First Name Middle Name Last Name

hy Answer These Questions for Administrative and Statistical Records

 

 

: 6, Are you filing for bankruptcy under Chapters 7, 11, or 13?

(] No. You have nothing to report on this part.of the form. Check this box and submit this form to the court with your other schedules.

Yes

4

7. What kind of debt do you have?

i
:

W Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

(J Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

this form to the court with your other schedules.

 

 

; Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official

 

5 1,150.00

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Totalclaim

 

From Part 4 on Schedule E/F, copy the following:

. aa . 0.00
9a. Domestic support obligations (Copy line 6a.) $C
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) s _———=C.00

. as . ae . 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $l
9d. Student loans. (Copy line 6f.) s__——«.00
Ye. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00

priority claims. (Copy line 6g.)
9f. Debis to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +S$ 0.00
Qg. Total. Add lines 9a through 9f. $ 0.00

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 2 of 2
Case o-41-/Uszo-reg VOoC¢l Filed Vo/Osiel Entered Qo/Os/21l 12:01:50

Fill in this information to identify your case and this filing:

 

 

CLERK
| 3. B Kk OQyin “fA IR
neor? STERLING ERIC CHARLES SR UP aoe netr cracr or UR
First Name Middie Name Last Name ee RE; W y: Oak
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name 7071 Apa 2 Q > 9; are
United States Bankruptcy Court for the: Eastern District of New York "| . -
Case number 21-70323-reg RECEIVED/DR

 

Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

in each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

EERE vescrive Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

: 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

CJ No. Go to Part 2.
Y Yes. Where is the property?

. > . . .
What is the property? Check all that apply. Do not deduct secured claims or exemptions, Put

wW Single-family home the-amount.of any secured claims on Schedule D:

4.1, 188 Independence ave. Creditors Who Have Claims Secured by Property.

CL) Duplex or multi-unit buildin
Street address, if available, or other description P neing

 

 

 

 

 

 

 

C1 Condominium or cooperative Current value of the Current value of the -
(J Manufactured or mobile home entire property? portion you own?
Q) Land $ 299,600.00 99,866.00
C) Investment property
Freeport NY 11520 CJ timeshare Describe the nature of your ownership
City State ZIP Code OD oth interest (such as fee simple, tenancy by
er the entireties, or a life estate), if known.
Who has an interest in the property? Check one. 1/3 interest
Nassau Q Debtor 1 only
County CL} Debtor 2 only

CJ Check if this is community property

CL) Debtor 1 and Debtor 2 only .
(see instructions)

wf At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

If you own or have more than one, list here:

What is the property? Check all that apply. Do not-deduct secured claims or exemptions. Put
Cj Single-family home the:amount of any. secured claims on: Schedule D:
Creditors Who Have Claims. Secured y Property.

 

 

 

 

1.2. - - —- CQ Duplex or multi-unit building

Street address, if available, or other description . ; oa sEathanet oe
CJ Condominium or cooperative Current value of the “Current value of the
C) Manufactured or mobile home entire property? portion you own?
CQ) tang $ $
CL) Investment property

. Describe the nature of your ownership

City State ZIP Code U) Timeshare interest (such as fee simple, tenancy by

CQ) other the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one.

L] Debtor 4 only

CL} Debtor 2 only

C) Debtor 1 and Debtor 2 only CJ) Check if this is community property
(J At least one of the debtors and another (see instructions)

 

 

County

Other information you wish to add about this item, such as local
property identification number:

 

 

 

Official. Form 106A/B Schedule A/B: Property page 1
ornare FEES LL TF ILS FCG —DOE-ZTt— Thee Gorvorzit- Entered Yo/Vsi2tl 12°01 50

pebtor1 OT TERLING ERIC CHARLES SR

First Name Middle Name Last Name

1.3.

 

Street address, if available, or other description

 

 

City State ZIP Code

 

County

- 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. .........:.ccccccsscnensennenseessenaeoneaeeseseecensnseusansnensunensuearesnsenenss >

Describe Your Vehicles

 

What is the property? Check all that apply.
CQ] Single-family home

] Duplex or multi-unit building

L) Condominium or cooperative

CJ} Manufactured or mobile home

C) Land

CL) investment property

C] Timeshare

(I other

 

Who has an interest in the property? Check one.

CY Debtor 1 only

CQ Debtor 2 only

(J Debtor 1 and Debtor 2 only

C1) At least one of the debtors and another

Case number (rinown.2 17 0323-reg

 

 

Current value of the Current value of the |
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

C) Check if this is community property

(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

 

99,866.00

 

 

 

* De you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

- 3, Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

CI No

WW Yes

3.4. Make: Isuzu
Model: Npr
Year: 2005

Approximate mileage: 289000

Other information:

 

i
i
E

 

 

If you own or have more than one, describe here:

3.2, Make: Ford
Model: E150
Year: 2002

Approximate mileage: 192000 |

Other information:

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.

A Debtor 1 only

L) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

C] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Debtor 1 only

(2) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

} At least one of the debtors and another

(I Check if this is community property (see
instructions)

"Do not det

 

 

 

the amo unt of any secured claims on: Schedule DY

 

 

 

 

 

: Creditors s Who o Have Obie Secured by Property.

 

Current value of the Current ‘value of the

entire property? portion you own?

§ 1,000.00 ¢

1,000.00.

 

 

Do not deduct secured claims or. “exemptions. Put
_ the amount of any, ‘secured claims on Schedule D:
Creditors Who Have Claims Secured by. Property.

 

Current value of the Current value of the :
entire property? portion you own?

$ 500.00 ¢

 

500.00 |

 

Schedule A/B: Property

page 2

 
Case o-41-/Usz0-reg VOC cl Filed Vo/Osiel Entered Qo/Os/21l 12:01 50

STERLING ERIC CHARLES SR

 

 

Who hasan interest in the property? Check one.

Debtor 1
First Name Middle Name Last Name
3.3. Make: Voltswagon
Model: Jetta Debtor 1 only
Year: 2006 LJ] Debtor 2 only
267000 C) Debtor 1 and Debtor 2 only

Approximate mileage:

Other information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

C) At least one of the debtors and another

LJ Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

C} Debtor 1 only

L) Debtor 2 only

L) Debtor 1 and Debtor 2 only

(3 At least one of the debtors and another

LI Check if this is community property (see
instructions)

Case number (if known) 21 -70323-reg

 

 

Do not deduct secured daims or exemptions. Put
the amount of any secured claims on Schedule D:

Creditors whe Have Claims Secured by Property,

 

‘Current value of the
portion you own?

Current value of the
entire property?

$ 500.00 ¢ 500.00

 

Do not deduct secured claims or exemptions. Put:
the amount of.any secured claims on Schedule Dr
Creditors Who Have Claims Secured by Property.

 

“Current value of the
portion you own?

Current value of the
entire property?

. 4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
: Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

No
CJ Yes

4.1, Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

4.2. Make:
Model:
Year:

Other information:

 

 

 

 

Who has an interest in the property? Check one.
C) Debtor 1 only

(2 Debtor 2 only

(2) Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

LI] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
LJ Debtor 1 only

C} Debtor 2 only

(J Debtor 1 and Debtor 2 only

(} At least one of the debtors and another

 

Do not. deduct secured claims or exemptions. Put

othe amount.of any secured claims on Schedulé D:

Creditors Who Have Claims Secured by Property.

 

Current value of the
portion you own?

Current value of the
entire property?

‘Do-not- deduct secured claims or exemptions. Put

the amount of any segured Claims on Schedule D:

Creditors Who Have | Claims Secured by. Property.

 

Current value of the
portion you own?

Current value of the
entire property?

 

 

 

 

 

L.} Check if this is community property (see $ $
instructions)
- § Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages s 2,000.00
| you have attached for Part 2. Write that number here oo... eecccccsceecessesssseeeceswecessneeceecnanctsesesnsnssesensnececsusretscunseesnusessanmecesseey »>
Official Form 106A/B Schedule A/B: Property page 3
eric KS Lo
wHowv

Debtor 4

Aug
oO

STERLING ERIC CHARLES SR

Filed Oo/Os/ 21

nenyfhnele
at

Case number (if known)

 

First Name

| Part 3: Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in-any of the following items?

Middle Name Last Name

 

- 6. Household goods and furnishings

Examples: Major appliances, furniture, linens, china, kitchenware

Qi No
td Yes. Describe.........

7. Electronics

provnancionna nearest

|
i

21-70323-reg

 

Basic dishes and cookware, Blender, air fryer, couch, dresser, bed, table and 4

Chairs, portable washing machine, 2 mirrors, 4 pictures and books

 

 

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

CL) No
i Yes. Describe..........

- 8. Collectibles of value

 

 

Laptop and monitor, printer, radio, tv, cell phone, ipad

 

 

 

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

No
O) Yes. Describe..........

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

(J No
W Yes. Describe..........

10. Firearms

 

 

 

 

carpeniry tools, exercise bike and 2 bicycles

 

 

 

Examples: Pistols, rifles, shotguns, ammunition, and related equipment

i No
(1 Yes. Describe..........

11. Clothes

 

 

 

 

Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

CI No
WA Yes. Describe..........

12, Jewelry

 

 

Everyday clothing and assessories

 

 

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,

gold, silver

i No
CQ Yes. Describe. .........

13. Non-farm animals

 

 

 

 

Examples: Dogs, cats, birds, horses

4 No
(J Yes. Describe..........

 

 

 

 

 

_ 14. Any other personal and household items you did not already list, including any health aids you did not list

4 No
(J Yes. Give specific
information. ............

 

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that number here

Official Form 106A/B

Schedule A/B: Property

entered Vo/Os/2il 12°01 50

  

the

 

ecured claims

 

§ 800.00

§ 1,000.00

$ 600.00

$ 300.00

 

 

$ 2,700.00

 

page 4

 
Case o-41-/Usz0-reg VOC cl Filed VofOsrel Entered Qo/Os/21l L2:0150

bebtor1 STERLING ERIC CHARLES SR Case number trian 21-70323-reg

First Name Middle Name Last Name

Describe Your Financial Assets

 

 

      

 

 

 

 

 

 

 

 

 

~~ orexemptions.
: 16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
CL) No
QYOS oeecesscssccscssnnccsssssssssscsssgnscacsacessscescesanassseecsssssousevesssssessesseseanessecconpvasesascesneeersnssseenescssnesesueseneeeeussseueeneneeees Cash: $ 88.00
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
LC No
WD Yes oi ee Institution name:
17.1. Checking account: Chase bank $ 75.65
17.2. Checking account: Cash app S 200.00
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $
- 18.Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
Yi No
CD Yes css Institution or issuer name:
$

 

 

 

i 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

No Name of entity: % of ownership:
LJ Yes. Give specific 0% %,
information about 0
them 0% %
0% %

 

 

Official Form 106A/B Schedule A/B: Property page 5
wae SLD. 2S ame ghemnl,
UWUoUu SY ot

Posco-fFeg—vee zr Tree Garvarzi- Entered Vo/Va/2l 12°01 50

Debtr1 STERLING ERIC CHARLES SR Case number drinown21-/0323-reg

 

First Name Middle Name Last Name

 

_ 20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No
Ql) Yes. Give specific Issuer name:
information about

 

 

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

No
LJ Yes. List each

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

account separately. Type of account: Institution name:
404 (k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

td No

CU Yes occ Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
4 No
DD Yes. Issuer name and description:
$
$

 

 

Official Form 106A/B Schedule A/B: Property page 6
Case o-41-/Uszo-reg VOoC¢l Filed Vo/Osiel Entered Qo/Os/21l 12:01:50

bebo? STERLING ERIC CHARLES SR Case number triaowm 21-70323-reg

First Name Middle Name Last Name

 

 

 

 

| 24.Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

UY No

CD VS aeensentnnnnernin Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

. 25, Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

UY No

L] Yes. Give specific
information about them.... $

 

 

 

 

: 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites, proceeds from royalties and licensing agreements

WY No

LJ Yes. Give specific
information about them.... $

 

 

 

 

_ 27. Licenses, franchises, and other general intangibles
: Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

YW no

L) Yes. Give specific
information about them.... $

 

 

 

 

Current value of the
portion you own?
Do not deduct secured
claims or exemptions:

 

28. Tax refunds owed to you

W No

CY Yes. Give specific information
about them, including whether |

you already filed the returns | State:
;

 

Federal:

and the tax Years. ......ceccecesseeee
Local:

 

 

29, Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

W No

i

 

 

 

 

 

Cl Yes. Give specific information..............
Alimony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settlement: $

_ 30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
No
C) Yes. Give specific information...
$

 

 

 

Official Form 106A/B Schedule A/B: Property page 7
vs SO cane ayhererd ocemmerff elle tng bn). singheounhs ceed al ef Brrr ard MO rofl orl meer fran onl LENE. {4 —{-} by Hf} df 3} ape. * a
aSO-6-2t-fFOsta-Feg-- DCE Zr THe Corsi zZiEMereag Gao s/ Zl L270 17350

pebtor1 STERLING ERIC CHARLES SR Case number erinown) 21-70323-reg

First Name Middle Name Last Name

 

 

‘ 31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

WY No

LJ Yes. Name the insurance company

Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

id No

CJ Yes. Give specific information..............

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

No
(2 Yes. Describe each claim. ....ccceccseee ‘

4

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

id No

C) Yes. Describe each claim. oes

 

 

 

 

35. Any financial assets you did not already list

da No aa

C} Yes. Give specific information............

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached 275.65
for Part 4, Write that number Were occ. cccsccccccssecscssvessessseccssssessssssesesssssessseseessuseeserssicssssusecssnseseueassesansaseessuissenssegensgunensseenetacenneeese > $Y

 

 

 

 

oe Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
Wi No. Go to Part 6.
(L} Yes. Go to line 38.

Current value of the _

 

 

 

 

 

 

 

portion you own? _
Do not deduct secured claims.
or exemptions. :
38. Accounts receivable or commissions you already earned
i No
C) Yes. Describe.......
$
39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
i No a
CD Yes. Describe........ g

 

 

 

Official Form 106A/B Schedule A/B: Property page 8
Case o-41-/Uszo-reg VOoC¢l Filed Vo/Osiel Entered Qo/Os/21l 12:01:50

pebtor1 STERLING ERIC CHARLES SR Case number irinown21-70323-reg

First Name Middle Name Last Name

_ 40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

uw No
C) Yes. Describe....... $

 

 

 

 

_ 41. Inventory
ld No
(J Yes. Deseribe....... $

 

 

 

 

42. Interests in partnerships or joint ventures

No

C) Yes. Describe...... Name of entity: % of ownership:
% $
% $
% $

 

 

 

43. Customer lists, mailing lists, or other compilations
lif No
QI] Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

CL} No
CJ Yes. Deseribe........

 

 

 

 

_ 44. Any business-related property you did not already list
lid No

(J Yes. Give specific
information .........

 

 

 

 

 

fe Ff# FF Ff fF HF

 

 

- 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0.00
for Part 5. Write that number here oo. eeeee ence snsesceeneseesesecneesecedeoenescseteaseeenisencesenseaaceneecssnersstesesunsenessssdercitecceesareceaneas >

 

 

 

 

Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

_ 46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

Wf No. Go to Part 7.

LI) Yes. Go to line 47.
Current value of the:
portion you own?
Do not deduct secured dlaims

 

or exemptions.
_ 47, Farm animals
Examples: Livestock, poultry, farm-raised fish
id No
7
$

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 9
 

Gase-o-zir-fvsezs-Feg- vee zi Fe Vorvsizt Entered Qo/Os/21 Lei01i50~

peotor1 STERLING ERIC CHARLES SR

First Name Middle Name Last Name

21-70323-reg

Case number (if known)

 

48. Crops—either growing or harvested

NG)

C) Yes. Give specific
information............ $

 

 

 

 

: 49, Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No

ot i
50. Farm and fishing supplies, chemicals, and feed

YW No

i ee

$

51. Any farm- and commercial fishing-related property you did not already list

No

C1 Yes. Give specific |

information. ..........- $

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0.00

for Part 6. Write that number here 0. cceecneecetcnenesereseneecsenecscsuesseanesenenceeeesecsaasecenuseessaesesseesatesseeusenasseseseneeseeansneasusenecranses > ae

TSSAe Pescribe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?

Examples: Season tickets, country club membership

No

C] Yes. Give specific

information. ............
5 0.00

55. Part 1: Total real estate, Fe 2 o.oo. cccccccccsesccseccsessvssstocsvessvecousssnsssscesvcosssevavessessevscausssasestsesenserscrasenssesssccopiassssessaeasecsuecaiecsstenasesnsenseees® > ¢___ 99,866.00
56. Part 2: Total vehicles, line 5 $ 2,000.00
57. Part 3: Total personal and household items, line 15 $ 2,700.00
58. Part 4: Total financial assets, line 36 $ 275.65
59. Part 5: Total business-related property, line 45 $ 0.00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00
61. Part 7: Total other property not listed, line 54 0.00
62. Total personal property. Add lines 56 through 61. ........ cee 4,975.65 Copy personal property total > +¢ 4,975.65
63. Total of all property on Schedule A/B. Add line 55 + line 62.0... ceteris ceeeeentssnescreneneseseseeceveneasneasendesuensesecatersaeseeaes $ 104,841.65

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 10
Case o-41-/Uszo-reg VOoC¢l Filed Vo/Osiel Entered Qo/Os/21l 12:01:50

Fill in this information to identify your case:

STERLING ERIC CHARLES SR

  

Debtor 1

 

     

 

 

 

First Name Middle Name Last Name Le ay y 7 2H
Pull ay RETA
Debtor 2
(Spouse, if filing} First Name Middle Name Last Name 2071 ADD 2 Q D 19: 9 r
United States Bankruptcy Court for the:Eastern District of New York “
Bit se fart
case number 21-70323-reg RECEIVED/DAW cheek if this is an
(If known) .
amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. if more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary, On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

(J You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
Wf You are claiming federal exemptions. 11 U.S.C. § 522(b){2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 
 
  

urrent value of the : : Amount of the exemption you claim: Specific laws that allow exemption
portion youown = Q : Ce

Copy the value from. Check only one box for each exemption,
_ Schedule A/B oe a
11 U.S.C. § 522(d)(2)

 

Brief
description: 2005 Isuzu $1,000.00 Os
Line from 100% of fair market value, up to

 

Schedule A/B: 3.1 any applicable statutory limit

11 U.S.C. § 522(d)(5)

 

 

 

Soscription: 2002 Ford E150 $500.00 Os
. , 100% of fair market value, up to
ane non AB: 32 _ any applicable statutory limit
Br ption, 2006 Volts Jetta $500.00 Os 11 U.S.C. § 522(d)(5)
Line from i 100% of fair market value, up to

any applicable statutory limit

 

Schedule A/B: 33.

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

W No

CQ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

C) No
CQ) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2
we {Orrell etic fer tard
Or2t TOOLS

{AS 4 ddafor}.
CASS rey YG

frrvemuagpoonl
uUeret

STERLING ERIC CHARLES SR

First Name Middle Name

Pare 2 Additional Page

Debtor 4 Case number trknown) 21-70323-reg

 

 

Last Name

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line. from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 106C

Household Goods

Tools, hobby, equipm
9

Everyday clothing
11

Chase bank account

17.1

Cash app Bank accot
17.2

Current value of the:
portion you own

Copy. the value from

Amount of the exemption you claim

Check only:one box for each exemption .

 

i 100% of fair market value, up to

 

a 100% of fair market value, up to

 

Wf 100% of fair market value, up to

 

{I 100% of fair market value, up to

 

Wf 100% of fair market value, up to

 

100% of fair market value, up to
any applicable statutory limit

 

CL) 100% of fair market value, up to
any applicable statutory limit

 

CJ 100% of fair market value, up to
any applicable statutory limit

 

L) 100% of fair market value, up to
any applicable statutory limit

 

Ci 100% of fair market value, up to
any applicable statutory limit

C] 100% of fair market value, up to
any applicable statutory limit

Schedule A/B
§ 800.00 Os

any applicable statutory limit
$ 1,000.00 (is

any applicable statutory limit
5 600.00 Qs

any applicable statutory limit
$ 300.00 Qs

any applicable statutory limit
§ 75.65 Os

any applicable statutory limit
§ 200.00 Os
§ Qs
$ Qs
$ Ls
$ Qs
$ Os
$ Os

 

(2 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

Specific |

 

 

   
    

“14 U.S.C. § 522(0)(3)

 

11 U.S.C. § 522(d)(3)

 

11 U.S.C. § 522(d)(5)

 

11 U.S.C. § 522(d)(5)

 

11 U.S.C. § 522(d)(5)

 

11 U.S.C. § 522(d)(5)

 

 

 

 

 

 

 

page 2 of 2
Case o-41-/Uszo-reg VOoC¢l Filed Vo/Osiel Entered Qo/Os/21l 12:01:50

Fill in this information to identify your case:

STERLING ERIC CHARLES SR

Middle Name

Debtor 4

 

First Name

= Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

 

United States Bankruptcy Court for the: Eastern District of New York
Case number 21 -70323-reg

(If known)

 

YEU /B8 M Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

12/15

 

1. Do any creditors have claims secured by your property?
CJ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
W Yes. Fill in all of the information below.

tien List All Secured Claims

 
 
 
 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

creditor has more than one secured claim, list the. creditor separately
van. on creditor has a particular claim, list the other creditors in: Part 2.
’ Ss in alphabetical order according, to the creditor's name.
ail Bank of America Home Loans Describe the property that secures the claim: $ 148,509.00 $ 299,600.00 $
Creditor's Name }
7105 Corporate Drive 88 rere rie ee
Number Street reeport,
As of the date you file, the claim is: Check all that apply.
O Contingent
City State ZIP Code ) Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C2 Debtor 1 only CJ An agreement you made (such as mortgage or secured
(1 debtor 2 only car loan)
(2 Debtor 1 and Debtor 2 only C] Statutory lien (such as tax lien, mechanic's lien)
f Atleast one of the debtors and another CY Judgment lien from a lawsuit
Q other (including a right to offset)
OC) Check if this claim relates to a
community debt
Date debt was incurred 05/20/2007 Last 4 digits of account number _0- 8 1 OO
| 2.2) Describe the property that secures the claim: $ $ $
Creditor's Name :
|
Number Street
As of the date you file; the claim is: Check all that apply.
O Contingent
Q Unliquidated
City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C] Debtor 1 only () An agreement you made (such as mortgage or secured
Q Debtor 2 only car loan)
CJ Debtor 1 and Debtor 2 only (J Statutory tien (such as tax lien, mechanic’s lien)
(2 Atteast one of the debtors and another () Judgment lien from a lawsuit
CJ Other (including a right to offset)
C) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits ofaccountnumber
the dollar value c in Column Aon this page. Write that number here: 6___148.509,00| _
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
Case o-41-/Uszo-reg VOoC¢l Filed Vo/Osiel Entered Qo/Os/21l 12:01:50

Fill in this information to identify your case:

Debtr1 STERLING ERIC CHARLES SR

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: Eastern District of New York

Case number 21-70323-req re
(ff known) ~

Mi Check if this is an
amended filing

 

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42115

 

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

| Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Wf No

LC) Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

 

x S\ pace he Sc: x

Signature of Debtor 1 Signature of Debtor 2

Date OY {3? | YOU Date
MMA DD 4/ YYYY MM/ DD / YYYY

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules
Case o-41-/Uszo-reg VOoC¢l Filed Vo/Osiel Entered Qo/Os/21l 12:01:50

UMMM Hitec ena melt are

STERLING ERIC CHARLES SR

First Name Middle Name

Debtor 1

Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

 

United States Bankruptcy Court for the: Eastern District of New York sy
- - ZECEIVED YAS
21-70323-reg ceCElVED/06

Wi Check if this is an

Case number .
amended filing

(if known)

 

 

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7 2s

 

If you are an individual filing under chapter 7, you must fill out this form if:

™ creditors have claims secured by your property, or

@ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

lf two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known).

List Your Creditors Who Have Secured Claims

4. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the

information below.

   

- What do you intend to do with the property that.

secures a debt?

Did you claim the property ©
‘as exempt on Schedule C?

 

 

 

 

 

 

 

 

Creditor's .
name. Bank of America Home Loans U surrender the property. id No
gone itieena cents estima enn toe tk mene pee - | Retain the property and redeem it. QO Yes
Description of 188 Independence avenue Q Retain the property and enter into a
ropert

secuting debt: Freeport, NY 11520 Reaffirmation Agreement.

Q) Retain the property and [explain]:
Creditor's C) Surrender the property. CI No
name:
ee arene ret SRUN es NM aR A SM gt Stn Mae C) Retain the property and redeem it. oO Yes
property of C} Retain the property and enter into a
securing debt: Reaffirmation Agreement.

C2 Retain the property and [explain]:
Creditor's CJ Surrender the property. QO No
name:

C} Retain the property and redeem it. C) Yes
epery of C} Retain the property and enter into a
securing debt: Reaffirmation Agreement.

C) Retain the property and [explain]:
Creditor’s CI Surrender the property. CI No
name:

CQ Retain the property and redeem it. 2) Yes

Description of
property
securing debt:

 

Official Form 108

(CJ Retain the property and enter into a
Reaffirmation Agreement.

CI Retain the property and [explain]:

 

Statement of Intention for Individuals Filing Under Chapter 7

pace 1
errno AS BO ck FADS LO FOG DIO E-PHOTO STL ECF EG SI SILL

oir: + STERLING ERIC CHARLES SR Case number tirknown) 21-70323-reg

First Name Middle Name Last Name

re List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

   

 

 

 

 

 

 

“Describe your unexpired personal property leases oo Will th
Lessor's name: CJ No
vo - O Yes
Description of leased
property:
Lessor’s name: QO) No
- Ol yes
Description of leased
property:
Lessor’s name: EI No
Description of leased QO Yes
property:
Lessor’s name: C) No
UO Yes
Description of leased
property:
Lessor’s name: LI No
' Cyves
Description of leased
property:
Lessor’s name: C} No
C) Yes
Description of leased
property:
Lessor's name: LI No
C) Yes

Description of leased
property:

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is. subject to an unexpired lease.

 

*S us Ee Chery x

Signature of Debtor 1 Signature of Debtor 2

date 4 [47 | Lora Date
MM A DD YYYY MM/ DD? YYYY

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2

 
